  Case 19-10888-KHK                         Doc 6 Filed 03/24/19 Entered 03/25/19 00:25:19                                           Desc Imaged
                                                 Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1                 Mark Anthony Anderson                                                  Social Security number or ITIN     xxx−xx−4725

                         First Name   Middle Name    Last Name                                  EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name    Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Virginia
                                                                                                Date case filed for chapter 13 3/20/19
Case number:          19−10888−KHK

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                    12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                               About Debtor 1:                                              About Debtor 2:
1. Debtor's full name                          Mark Anthony Anderson

2. All other names used in the
   last 8 years
                                               1411 Admiral Drive
3. Address                                     Woodbridge, VA 22192
                                               Nathan A. Fisher                                             Contact phone (703) 691−1642
4. Debtor's  attorney
   Name and address
                                               Fisher−Sandler, LLC
                                               3977 Chain Bridge Road, #2
                                                                                                            Email: Fbarsad@cs.com

                                               Fairfax, VA 22030

5. Bankruptcy trustee                          Thomas P. Gorman                                             Contact phone (703) 836−2226
      Name and address                         300 N. Washington St. Ste. 400
                                               Alexandria, VA 22314                                         Email: ch13alex@gmail.com




                                                                                                                              For more information, see page 2 >
Official Form 309I Notice of Chapter 13 Bankruptcy Case [b309ivOct18.jsp]                                                                                 page 1
  Case 19-10888-KHK                         Doc 6 Filed 03/24/19 Entered 03/25/19 00:25:19                                                  Desc Imaged
                                                 Certificate of Notice Page 2 of 4
Debtor Mark Anthony Anderson                                                                                                          Case number 19−10888−KHK

6. Bankruptcy clerk's office                                                                                       For the Court:

    Documents in this case may be              200 South Washington Street                                         Clerk of the Bankruptcy Court:
    filed at this address. You may             Alexandria, VA 22314                                                William C. Redden
    inspect all records filed in this
    case at this office or online at           Hours open Monday − Friday, 9:00 AM − 4:00 PM                       Date: March 22, 2019
    www.pacer.gov.                             ET, except on holidays.

   McVCIS 24−hour case                         Contact phone 703−258−1200
   information:
   Toll Free 1−866−222−8029
7. Meeting of creditors                      April 16, 2019 at 02:30 PM                                         Location:
    Debtors must attend the meeting to                                                                          1725 Duke Street, Suite 520, Alexandria, VA
    be questioned under oath. In a joint                                                                        22314
                                             The meeting may be continued or adjourned to a later
    case, both spouses must attend.          date. If so, the date will be on the court docket.
    Creditors may attend, but are not
    required to do so.
8. Deadlines                                  Deadline to file a complaint to challenge                                Filing deadline: June 17, 2019
    The bankruptcy clerk's office must        dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                                You must file:
                                              • a motion if you assert that the debtors are
                                                 not entitled to receive a discharge under
                                                 U.S.C. § 1328(f) or
                                              • a complaint if you want to have a particular
                                                 debt excepted from discharge under
                                                 11 U.S.C. § 523(a)(2)or (4).
                                              Deadline for all creditors to file a proof of claim                      Filing deadline: May 29, 2019
                                              (except governmental units):
                                              Deadline for governmental units to file a proof of                       Filing deadline: September 16, 2019
                                              claim:


                                              Deadlines for filing proof of claim:
                                               A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                              www.uscourts.gov or any bankruptcy clerk's office.
                                              If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                              a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                              claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                              For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                              including the right to a jury trial.


                                              Deadline to file an Objection to a Proof of Claim is 90 days after the deadline set forth
                                              above to file a Proof of Claim.


                                              Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                              The law permits debtors to keep certain property as                                           conclusion of the
                                              exempt. If you believe that the law does not authorize                                        meeting of creditors
                                              an exemption claimed, you may file an objection.




                                                                                                                                     For more information, see page 3 >
Official Form 309I Notice of Chapter 13 Bankruptcy Case [b309ivOct18.jsp]                                                                                        page 2
  Case 19-10888-KHK                         Doc 6 Filed 03/24/19 Entered 03/25/19 00:25:19                                                Desc Imaged
                                                 Certificate of Notice Page 3 of 4
Debtor Mark Anthony Anderson                                                                                                        Case number 19−10888−KHK

9. Filing of Chapter 13 Plan                  Local Rule 3015−2 requires attorney for debtor(s) or pro se debtor(s) to serve the Chapter 13 Plan and Related
   and Related Motions and                    Motions on creditors and interested parties. Objections must be filed not later than 7 days prior to the date set
                                              for the confirmation hearing. If no objections are timely filed, there will be no confirmation hearing. Timely
   Hearing on Confirmation                    filed objections will be heard at the confirmation hearing scheduled to be held:

                                              May 23, 2019 at 09:30 AM,

                                              Location: Judge Kindred's Courtroom, U.S. Bankruptcy Court, 3rd Floor, 200 South Washington St.,
                                              Courtroom III, Alexandria, VA 22314
10. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                   extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.
11. Filing a chapter 13                       Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                           according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                              plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                              confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                              debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                              court orders otherwise.
12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                              distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                              the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                        Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                              However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                              are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                              as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                              523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                              If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                              must file a motion.
14. Local Rule Dismissal                      Case may be dismissed for failure to timely file lists, schedules and statements, or to attend meeting of
    Warning                                   creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at the meeting give notice of
                                              intention to abandon property burdensome or of inconsequential value or intent to sell nonexempt property that
                                              has an aggregate gross value less than $2,500. Objections thereto must be filed pursuant to Local Bankruptcy
                                              Rules 6004−2 and 6007−1.
15. Manner of Payment of Fees Exact Change Only accepted for cash payment of fees and services. Payment may also be made by
                                              non−debtor's check, money order, cashier's check or a 'not to exceed check' made payable to Clerk, U.S.
                                              Bankruptcy Court, or any authorized non−debtor's credit card.
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine. For more information,
go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient Access. Free. For more
information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor Electronic Bankruptcy Noticing link from the
ATTENTION DEBTORS DeBN banner.




Official Form 309I Notice of Chapter 13 Bankruptcy Case [b309ivOct18.jsp]                                                                                     page 3
        Case 19-10888-KHK               Doc 6 Filed 03/24/19 Entered 03/25/19 00:25:19                              Desc Imaged
                                             Certificate of Notice Page 4 of 4
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 19-10888-KHK
Mark Anthony Anderson                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: douglasse                    Page 1 of 1                          Date Rcvd: Mar 22, 2019
                                      Form ID: 309I                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 24, 2019.
db             +Mark Anthony Anderson,    1411 Admiral Drive,   Woodbridge, VA 22192-2602
tr             +Thomas P. Gorman,    300 N. Washington St. Ste. 400,    Alexandria, VA 22314-2550
14773158       +BWW,    8100 Three Chopt Road,   Suite 240,   Henrico, VA 23229-4833
14773162       +Ditech,    P.O. Box 780,   3451 Hammond Avenue,   Waterloo, IA 50702-5345
14773165       +Occoquan Landing Comm. Assoc.,    c/o Harris Loftus, PLLC,    7900 Sudley Road, Ste. 608,
                 Manassas, VA 20109-2806
14773168       +Riverview Overlook Comm. Assoc,    Harris Loftus, PLLC,    7900 Sudley Road, Ste. 608,
                 Manassas, VA 20109-2806

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: Fbarsad@cs.com Mar 23 2019 03:31:40      Nathan A. Fisher,     Fisher-Sandler, LLC,
                 3977 Chain Bridge Road, #2,    Fairfax, VA 22030
14773154       +E-mail/Text: bankruptcydept@applefcu.org Mar 23 2019 03:33:32       Apple FCU,
                 4029 Ridge Top Road,    Fairfax, VA 22030-7435
14773155       +E-mail/Text: bankruptcydept@applefcu.org Mar 23 2019 03:33:32       Apple Fcu,    4029 Ridgetop Rd,
                 Fairfax, VA 22030-7435
14773156       +E-mail/Text: bankruptcydept@applefcu.org Mar 23 2019 03:33:32       Apple Federal Credit U,
                 4029 Ridge Top Rd,   Fairfax, VA 22030-7435
14773157       +EDI: TSYS2.COM Mar 23 2019 07:13:00      Barclays Bank Delaware,    100 S West St,
                 Wilmington, DE 19801-5015
14773160        EDI: CAPITALONE.COM Mar 23 2019 07:13:00      Capital One,    15000 Capital One Dr,
                 Richmond, VA 23238-0000
14773159       +EDI: CAPITALONE.COM Mar 23 2019 07:13:00      Capital One,    Attn: Bankruptcy,    Po Box 30253,
                 Salt Lake City, UT 84130-0253
14773161       +E-mail/Text: electronicbkydocs@nelnet.net Mar 23 2019 03:32:56       Dept Of Ed/582/nelnet,
                 Attn: Claims/Bankruptcy,    Po Box 82505,   Lincoln, NE 68501-2505
14773163       +E-mail/Text: bk@lendingclub.com Mar 23 2019 03:33:14       Lending Club Corp,    71 Stevenson St,
                 Suite 300,   San Francisco, CA 94105-2985
14773164       +EDI: MID8.COM Mar 23 2019 07:13:00      Midland Funding,    8875 Aero Drive, Ste. 200,
                 San Diego, CA 92123-2255
14773166       +E-mail/Text: ustpregion04.ax.ecf@usdoj.gov Mar 23 2019 03:32:36       Office of the U.S. Trustee,
                 115 South Union St., Ste. 210,    Alexandria, VA 22314-3361
14773167       +EDI: RMSC.COM Mar 23 2019 07:13:00      Paypal Buyer Credit,    P.O. Box 960090,
                 Orlando, FL 32896-0090
14773169       +EDI: RMSC.COM Mar 23 2019 07:13:00      Synchrony Bank,    P.O. Box 960061,
                 Orlando, FL 32896-0061
                                                                                               TOTAL: 13

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 24, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 21, 2019 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
              Nathan A. Fisher   on behalf of Debtor Mark Anthony Anderson Fbarsad@cs.com, barsad@aol.com
              Thomas P. Gorman   ch13alex@gmail.com, tgorman26@gmail.com
                                                                                            TOTAL: 3
